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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                              CASE NO. 18-CIV-80176-Bloom/Reinhart


  IRA KLEIMAN, as personal representative of
  the estate of David Kleiman, and
  W&K INFO DEFENSE RESEARCH, LLC,

                         Plaintiffs,

  v.

  CRAIG WRIGHT,

                    Defendant.
  ___________________________________/

                  ORDER ON PLAINTIFF’S MOTION TO COMPEL (DE 210)

         Encryption has existed as far back as the time of Julius Caeser.1 The fundamental idea is

  simple: use a technique to hide something now, with a secret way to reveal it later. For text, the

  technique often involves a cipher – a way to encode the text itself. For physical objects, it generally

  involves creating a secure location that can only be entered using an access device, such as a key.

         The modern world depends on encryption. Financial systems, national security, secure

  personal communications, and cloud storage all require encryption technology; otherwise they

  would be unprotected from hackers or intruders.

         Modern cryptography is built on mathematics. The most famous cryptographic tool is the

  so-called “RSA” algorithm, which was developed by three MIT professors in 1977: Ron Rivest,


  1
   Simon Singh, The Code Book: The Science of Secrecy from Ancient Egypt to Quantum
  Cryptography, p. 9-10 (1999).
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  Adi Shamir, and Leonard Adleman.2         The RSA algorithm is predicated on the computational

  difficulty of factoring the products of extremely large prime numbers.3 In the RSA system, the

  encryption and decryption keys are numbers, specifically, integers.

            On March 14, 2019, Dr. Wright was ordered to produce a list of his bitcoin holdings as of

  December 31, 2013. DE 124 at 18-23. On April 18, 2019, he filed a motion for protective order

  claiming that it would be unduly burdensome for him to produce the list. DE 155.4 He claimed

  that he could not produce a complete list because, in or about 2010, he stopped keeping track of

  the public addresses (i.e., the unique identifiers) for the bitcoin that he mined.5 He further stated,

  “In 2011, Dr. Wright transferred ownership of all of his Bitcoin into a blind trust.” Id. at 2. He

  therefore claimed that he did not “know any of the public addresses which hold any of the bitcoin

  in the blind trust [and that he] cannot provide any other public addresses.” Id.

            The motion for protective order was denied. DE 166. Dr. Wright was further ordered to

  produce certain documents and certifications related to the trusts. Among the items he was ordered

  to produce were “all transactional records of the blind trust, including but not limited to any records

  reflecting the transfer of bitcoin into the blind trust in or about 2011.” Id. at 4. This production

  was to be accompanied by a sworn declaration of authenticity. Id.


  2
      Id. at 272-79.
  3
      Id.
  4
    The motion was filed under seal. A redacted version of the motion is filed in the public record
  at Docket Entry 184.
  5
   Dr. Wright produced a partial list of bitcoin public addresses that he mined prior to 2011. DE
  155 at 2-3.




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         Dr. Wright provided a sworn declaration dated May 8, 2019.6 He swore that in October

  2012 he settled a trust “whose corpus included the Bitcoin that I mined, acquired and would acquire

  in the future.” Wright Declaration at ¶ 5.7 He also swore, “Access to the encrypted file that

  contains the public addresses and their associated private keys to the Bitcoin that I mined, requires

  myself and a combination of trustees referenced in [the blind trust] to unlock based on a Shamir

  scheme.” Id. at ¶ 23.

         Plaintiffs move to compel Dr. Wright to comply with the Court’s March 14 Order. They

  seek sanctions for his failure to do so. DE 197. Dr. Wright concedes that he has not complied

  with the Court’s order, but argues that compliance is impossible. He expands upon the

  representation made in Paragraph 23 of his declaration. He argues that information necessary to

  produce a complete list of his bitcoin holding on December 31, 2011, is in the blind trust in an

  encrypted file that is further encrypted using “‘Shamir’s Secret Sharing Algorithm’, an algorithm

  created by Adi Shamir to divide a secret, such as a private encryption key, into multiple parts.”

  DE 204 at 5. Dr. Wright asserts that he cannot decrypt the outer level of encryption because he

  does not have all of the necessary decryption keys. Id. He states that after using a Shamir system

  to encrypt this information, “The key shares were then distributed to multiple individuals through

  the [blind] trusts” and “he alone does not have ability to access the encrypted file and data

  contained in it.” Id.




  6
   A copy of this declaration was emailed to the Court, but was not filed with the Clerk of the Court.
  Defendant shall file an unredacted version under seal forthwith and, after conferring with
  Plaintiffs, submit a proposed redacted version for filing in the public record.
  7
   Dr. Wright now states that the bitcoin itself was not transferred to the trust. Rather, the private
  keys necessary to transfer the bitcoin were transferred to the trust, in an encrypted file.



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         A Shamir scheme is a technique for encrypting a piece of data.8 Rather than securing the

  data with a single numerical key, multiple numerical keys are created. No single key can unlock

  the data. Some minimum number of the keys are needed for decryption. If the keys are distributed

  to multiple people, no single person can unilaterally unlock the data.

         The underlying math can be complicated, but the end result is not.9 A Shamir scheme

  creates a virtual safe deposit box. What, after all, is a safe deposit box? It is a location where

  items are stored but that cannot be opened by a single key. As anyone who has utilized a bank

  safe deposit box knows, opening the box requires both the bank’s key and the customer’s key. The

  customer keeps her key, so the bank cannot get into the box alone. The bank keeps its key so that

  the customer (or someone who steals the customer’s key) cannot get into the box alone. Both keys

  are needed to open the box.

         Under Shamir’s system, each “key” is an ordered pair of numbers. The person encrypting

  the data can create multiple keys, all of which are needed to “unlock” the encrypted data. Think

  of a safe deposit box with many keyholes, not just two. The underlying concept is the same. If

  you get enough of the keys, you can unlock the data.

         Dr. Wright concedes that a list of his bitcoin holdings could be generated from the

  information in the encrypted file in the trust. DE 204 at 4 (the encrypted file contains, inter alia,

  “other data from which information about bitcoin mined after block 70 could be re-generated.”).

  Dr. Wright voluntarily encrypted this information using a Shamir system. Id. at 5 (Dr. Wright

  “purposely set up a Shamir system.”). His declaration indicates that he is aware of the other


  8
    Adi Shamir, How to Share a Secret, Communications of the ACM, Vol 22, No. 11, Nov. 1979,
  at 612.
  9
   The mathematics is polynomial interpolation over a finite field modulo p, where p is a prime
  number. Id. at 613.


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  individuals who possess decryption keys. Those individuals are trustees of Dr. Wright’s blind

  trust. He has not explained why he cannot obtain, and has not obtained, the necessary keys from

  these third parties. At this point, the record before the Court fails to demonstrate that Dr. Wright

  cannot through reasonable diligence comply with the Court’s March 14th Order. The Court will

  allow the parties to develop a full evidentiary record before it decides whether sanctions are

  warranted.

         WHEREFORE, it is ordered that:

         1. The Motion to Compel (DE 210) is GRANTED. On or before June 17, 2019, Dr.

               Wright shall produce a complete list of all bitcoin he mined prior to December 31,

               2013.

         2. Dr. Wright shall appear in person before the undersigned at the Paul G. Rogers Federal

               Building, 701 Clematis Street, West Palm Beach, Florida, on June 28, 2019 at 9:00

               a.m. to show cause why the undersigned should not certify the facts recited above to

               the Hon. Beth Bloom and order Dr. Wright to appear before Judge Bloom to show

               cause why he should not be adjudged in civil and/or criminal contempt by reason of

               these facts. 28 U.S.C. § 636(e)(6)(B) (2019).

         3. At the June 28, 2019, hearing, the Court also will determine whether, independently,

               sanctions short of contempt should be imposed under Fed. R. Civ. P. 37 for Dr.

               Wright’s failure to comply with the Court’s March 14, 2019, Order.

         DONE AND ORDERED in Chambers this 14th day of June, 2019, at West Palm Beach

  in the Southern District of Florida.


                                                _____________________________
                                                BRUCE REINHART
                                                UNITED STATES MAGISTRATE JUDGE

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